                   Case 4:23-cv-04155-YGR                                               Document 427-4                                          Filed 11/06/24                                    Page 1 of 2
                                       FREEDOM          OF           INFORHATLON.&               PRIVACY               ACT    REQUEST                (5.USC        552)

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